            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION

                      CRIMINAL CASE NO. 2:08cr36



UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )              ORDER
                          )
                          )
DANIEL LEE REED.          )
                          )

     THIS MATTER is before the Court on the Motion to Withdraw as

Counsel of Record and for Appointment of Appellate Counsel [Doc. 84]

and the Motion to Seal Document [Doc. 88], filed by the Defendant’s

counsel.

     Attorneys Rich Cassady and Kris V. Williams move to withdraw as

counsel of record for the Defendant and further move for the appointment

of counsel for the Defendant on appeal. Based upon the Defendant’s

Affidavit of Indigency [Doc. 84-1] submitted in support of said Motion, the

Court determines that the Defendant is indigent and that he should be

appointed appellate counsel. The Court further determines that due to his




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indigency, the Defendant should be allowed to prosecute his appeal

without the prepayment of either fees or costs.

      Accordingly, IT IS, THEREFORE, ORDERED that the Motion to

Withdraw as Counsel of Record [Doc. 84] is ALLOWED, and attorneys

Rich Cassady and Kris V. Williams are hereby relieved of any further

representation of the Defendant in this matter.

      IT IS FURTHER ORDERED that the Defendant Daniel Lee Reed

shall be allowed to prosecute his appeal without the prepayment of either

fees or costs. The appointment of appellate counsel is respectfully

referred to the Fourth Circuit Court of Appeals.

      IT IS FURTHER ORDERED that the Motion to Seal Document [Doc.

88] is ALLOWED, and the Affidavit of Indigency [Doc. 84-1] submitted in

support of counsel’s Motion to Withdraw shall be sealed until further Order

of this Court.

      IT IS SO ORDERED.

                                      Signed: January 4, 2010




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